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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

JDR INDUSTRIES, INC.,

                 Plaintiff,                           8:14-CV-284

vs.
                                              ORDER ON PERMANENT
MICHAEL E. MCDOWELL, personal                     INJUNCTION
representative of the estate of Edwin
K. McDowell, successor to Edwin K.
McDowell, d/b/a LaGrange Supply
Co.; LAGRANGE SUPPLY CO, LLC,
a Nebraska limited liability company,
d/b/a/ LaGrange Supply Co.; and J.L.
Vance, LLC, a Nebraska limited
liability company, d/b/a LaGrange
Supply Co.,

                 Defendants.


      This matter is before the Court on the parties' stipulation for final
order of permanent injunction and judgment. Filing 172. In accordance with
the parties' settlement and joint stipulations,

      IT IS ORDERED:

      1.   The Plaintiff is the sole lawful owner of the registered and
           distinctive mark LAGRANGE which has been registered
           with the United States Patent and Trademark Office at
           Registration No. 4,114,106.

      2.   That Defendants and their affiliates are hereby
           permanently enjoined and restrained from and shall
           immediately terminate all use, in any manner whatsoever,
           of the Mark and any confusingly similar derivatives, which
           injunction includes, but is not limited to:

              a. the use in any manner of the Mark, and any other
                 term or terms likely to cause confusion therewith,
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             b. the use in any manner of the Mark in connection with
                Defendants’ goods or services; and

             c. otherwise engaging in any other acts or conduct
                which would cause consumers to erroneously believe
                that Defendants’ goods or services are somehow
                sponsored by, authorized by, licensed by, or in any
                other way associated with JDR.

    3.    That if Defendants, or any of them individually, are found
          by the Court to be in contempt of, or otherwise to have
          violated this Order, in addition to the other remedies
          available to Plaintiff for contempt or violation of this Order,
          Plaintiff may seek entry of a temporary restraining order
          and a preliminary injunction and that in addition, Plaintiff
          shall be entitled, in addition to any damages caused by
          Defendants’ contempt or violation of this Order, to seek to
          recover its attorneys’ fees, costs and other expenses
          incurred in enforcing this Order.

    Dated this 16th day of June, 2017.


                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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